      Case 2:13-cr-00024-TOR         ECF No. 172   filed 07/31/13   PageID.460 Page 1 of 1




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                           UNITED STATES DISTRICT COURT
 5
                         FOR THE DISTRICT OF WASHINGTON
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 7
     UNITED STATES OF AMERICA,                       No. CR-13-024-FVS-1
 8
 9                      Plaintiff,                   ORDER GRANTING
                                                     MOTION FOR TRAVEL
10 vs.
11
   RHONDA LEE FIRESTACK-
12
   HARVEY,
13
14              Defendant.

15
           Defendant has moved for permission to travel to Alaska to see her elderly
16
     mother. She has been compliant with the pretrial conditions of release. Her
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     Pretrial Services Officer does not oppose the travel, provided she calls the officer
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     prior to leaving and after she returns. The United States does not take a position.
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           The Motion, ECF No. 171, is GRANTED; provided Defendant calls
20
     Officer Moore with the details of her travel within 5 business days and
21
     immediately calls him upon her return. She has permission to travel between
22
     August 12, 2013, and August 28, 2013. All other conditions of release remain.
23
           IT IS SO ORDERED.
24
           DATED July 31, 2013.
25
26                             S/ CYNTHIA IMBROGNO
27                       UNITED STATES MAGISTRATE JUDGE
28

     ORDER GRANTING MOTION FOR TRAVEL - 1
